                          UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                               WILKES-BARRE DIVISION

    IN RE:                                                       CHAPTER 13
                                                                 CASE NO.: 5:22-bk-00977-MJC
    Karen Gordon,
    aka Karen B. Gordon,
    aka Karen Bonita Gordon,

          Debtor,
    _________________________________/

    U.S. Bank Trust National Association, not in its
    individual capacity but solely as owner trustee for
    RCF 2 Acquisition Trust c/o U.S. Bank Trust
    National Association,

           Movant,

    v.

    Karen Gordon,
    aka Karen B. Gordon,
    aka Karen Bonita Gordon,
    Jack N Zaharopoulos (Trustee),

          Respondents.
    _________________________________/

                            ORDER VACATING AUTOMATIC STAY

          Upon consideration of U.S. Bank Trust National Association, not in its individual

   capacity but solely as owner trustee for RCF 2 Acquisition Trust c/o U.S. Bank Trust

   National Association’s Motion for Relief from Automatic Stay, pursuant to 11 U.S.C. § 362(d),

   any response thereto and that it is not necessary for an effective reorganization, it is hereby




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           ORDERED, that the automatic stay provisions of Section 362 of the Bankruptcy Code are

   hereby unconditionally terminated with respect to U.S. Bank Trust National Association, not in

   its individual capacity but solely as owner trustee for RCF 2 Acquisition Trust c/o U.S. Bank

   Trust National Association; and it is further

           ORDERED, that U.S. Bank Trust National Association, not in its individual capacity but

   solely as owner trustee for RCF 2 Acquisition Trust c/o U.S. Bank Trust National Association, its

   successors and/or assigness be entitled to proceed with appropriate state court remedies against

   the property located at Lot 10 Section 4 Pine Hill Park, Mount Pocono Borough, Pennsylvania

   18344 aka 14 Stonegate Court, Mount Pocono, Pennsylvania 18344, including without limitation

   a sheriff’s sale of the property, and it is further

           ORDERED that U.S. Bank Trust National Association, not in its individual capacity but

   solely as owner trustee for RCF 2 Acquisition Trust c/o U.S. Bank Trust National Association

   request to waive the 14-day stay period pursuant to Fed.R.Bankr.P. 4001(a)(3) is granted.



                                                         By the Court,



                                                         _____________________________
                                                         Mark J. Conway, Bankruptcy Judge
                                                         Dated: November 30, 2022




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